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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN

MAXWELL FOODS,

        Appellant,
                                                     Case No. 18‐cv‐538‐bbc
   v.

CRANBERRY GROWERS COOPERATIVE,
d/b/a CRANGROW,

        Appellee.


                           JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered affirming

the decision of the United States Bankruptcy Court for the Western District

of Wisconsin and dismissing this case.




        s/ K. Frederickson, Deputy Clerk                February 12, 2019
        Peter Oppeneer, Clerk of Court                       Date
